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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

Seth et al                                              *
      Plaintiff,
                                                        *
      v.                                                         Case No. 8:20-cv-01028-PX
                                                        *
McDonough
      Defendant.                                        *

                                 MOTION FOR ADMISSION PRO HAC VICE

            I, Edward Henderson Williams II        , am a member in good standing of the bar of this

Court. I am moving the admission of Ellora Thadaney Israni

to appear pro hac vice in this case as counsel for Seth et al (plaintiffs)                                 .


            We certify that:

            1. The proposed admittee is not a member of the Maryland bar and does not maintain
               any law office in Maryland

            2. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                      State Court & Date of Admission           U.S. Court & Date of Admission
               California, 07/26/2020                       Ninth Circuit Court of Appeals, 09/30/2020




            3. During the twelve months immediately preceding this motion, the proposed admittee
               has been admitted pro hac vice in this Court _______
                                                            0       time(s).

            4. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

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            6. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.

            7. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            8. The $100.00 fee for admission pro hac vice accompanies this motion.

            9. We hereby certify under penalties of perjury that the foregoing statements are true
               and correct.


MOVANT                                                   PROPOSED ADMITTEE

 /s/ Edward Henderson Williams II
Signature                                                Signature

 Edward Henderson Williams II - 20944                    Ellora Thadaney Israni
Printed name and bar number                              Printed name

 WilmerHale                                              Civil Rights Corps
Office name                                              Office name

                                                         1601 Connecticut Ave. NW, Suite 800, Washington, DC 20009
  1875 Pennsylvania Ave NW, Washington, DC 20006
Address                                                  Address

 202-663-6487
                                                         (650) 223-4196
Telephone number                                         Telephone number
                                                         (202) 609-8030
Fax Number                                               Fax Number

 ed.williams@wilmerhale.com                              ellora@civilrightscorps.org
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